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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


                                    :
   UNITED STATES OF AMERICA
                                    :       Hon. John Michael Vazquez
                   v.
                                    :          Crim. No. 92-172-01
                FABIO PAZ
                                    :




      _________________________________________________________________

        GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
                  TO REDUCE SENTENCE PURSUANT TO
                          18 U.S.C. § 3582(c)(1)(A)
      _________________________________________________________________




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PRELIMINARY STATEMENT

        Defendant Fabio Paz (“Paz”) is serving a 35-year sentence for drug

trafficking and presently is housed at the Rivers federal correction facility (“CI

Rivers”) in Winston, North Carolina. He petitioned the Bureau of Prisons (“BOP”)

for compassionate release in April 2020, citing underlying health issues that he

contends put him at high risk if he were to contract COVID-19. After BOP denied

Paz’s petition in early May 2020, Paz moved this Court for immediate release to

home confinement, under 18 U.S.C. § 3582(c)(1)(A), based on the same health

conditions as well as general complaints about the spread of COVID-19 in prison

settings. Dkt. No. 28 (the “Motion” or “Mot.”).1

        The United States opposes the Motion, and this Court should deny it.

Although the Department of Justice deems Paz’s Type 2 diabetes diagnosis to

constitute an “extraordinary and compelling” circumstance in the context of the

COVID-19 pandemic, that does not end the inquiry.2 The Court also must

consider whether Paz poses a danger to the community and all other pertinent




1 Paz previously moved for compassionate release, Dkt. No. 23, but withdrew
that motion pending exhaustion of his administrative remedies, Dkt. No. 26.

2 The Centers for Disease Control and Prevention (“CDC”) considers Type 2
diabetes a heightened risk factor for severe illness if an individual were to
contract the COVID-19 virus. See CDC, “Coronavirus Disease 2019 (COVID-19):
People Who Are at Higher Risk for Severe Illness,” available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
at-higher-risk.html (accessed June 21, 2020). Accordingly, it is unnecessary to
examine Paz’s claim of heart disease, see Mot. at 4, because it would, at most,
constitute additional support (of which none is needed) for Paz’s claim of an
“extraordinary and compelling circumstance.”
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factors under 18 U.S.C. §3553(a), along with BOP’s efforts to maintain the safety

of inmates, the totality of which counsel against a grant of relief in this case.

      The 3553(a) factors militate strongly against Paz’s early release. His crime

was no ordinary drug offense: as described in more detail below, he was the

leader of a nationwide network that partnered with Colombian cartels to

distribute thousands of kilograms of cocaine across the United States within the

span of less than two years. And he continues to pose a danger to the

community: the BOP places him in “a public-safety classification of greatest

severity” and considers him an escape risk. Paz does not even attempt to address

these public-safety implications of his request, much less offer any grounds on

which the Court might find that his safety outweighs that of the public.

      Moreover, the record makes clear that Paz’s chronic health conditions are

being effectively treated at CI Rivers, and BOP has taken extensive and effective

steps to address COVID-19, including at CI Rivers. Indeed, the available evidence

suggests that Paz is likely at lower risk of contracting COVID-19 there than he

would be if released.

      For all of these reasons, Paz’s motion should be denied.

I.    BACKGROUND

      Paz was the mastermind of a nationwide transportation network that

distributed, at the very least, more than 2,000 kilograms of cocaine from

Colombian cartels throughout the United States in less than two years, from in

or about July 1990 to in or about May 1992. Those shipments included 856



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kilograms seized by law enforcement while en route to New Jersey, 613 kilograms

seized in New Jersey, and 1,279 kilograms seized in or while en route to New

York. Notably, those were only the quantities that law enforcement could

interdict; testimony at Paz’s trial indicated that Paz actually handled more than

7,700 kilograms of cocaine during the same 22-month period.

      A jury convicted Paz on October 13, 1993 on one count of conspiracy to

distribute more than 1,500 kilograms of cocaine and two counts of possession

with intent to distribute 330 kilograms and 149 kilograms of cocaine,

respectively. On May 23, 1994, the Honorable William G. Bassler, U.S.D.J.,

sentenced Paz to a term of life in prison, which Judge Bassler subsequently

reduced to 419 months’ imprisonment under a November 1995 amendment to

the United States Sentencing Guidelines (the “Guidelines”). Both sentences were

within the advisory Guidelines range of 360 months to life, as calculated by

Probation. Paz’s projected release date is February 14, 2022.

II.   LEGAL FRAMEWORK

      Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in limited circumstances,

grant a defendant’s motion to reduce his term of imprisonment. Before a

defendant may file such a motion, however, he must first ask BOP to file it on

his behalf. 18 U.S.C. § 3582(c)(1)(A). A court may grant a defendant’s own motion

for a sentence reduction only if the motion was filed “after the defendant has

fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf” or after 30 days have passed



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“from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier.” Id.

      Paz made the requisite request to BOP, which denied that request on May

5, 2020, stating that, although Paz “do[es] meet some CDC vulnerable guidelines,

Elderly (68) and Diabetic,” he is “at no greater risk inside the controlled

Correctional setting vers[u]s any community setting in any transmission state at

this time, where [he] could freely move about place to place.” Mot., Ex. A. BOP

also pointed out that:

      According to [Paz’s] medical record, [he] arrived at Rivers
      Correctional Facility . . . on May 5, 2018, with Diabetes,
      Hypertension, GERD, Glaucoma, Anemia, Hyperlipidemia and a
      history of Prostate Cancer. The providers have followed [Paz] closely
      in chronic clinic since [his] arrival and prescribed needed
      medications along the way.

Id. The government thus agrees with Paz that he has satisfied the statutory

exhaustion requirement. See United States v. Raia, 954 F.3d 594, 597 (3d Cir.

2020) (explaining what a prisoner must do to satisfy this requirement).

      Once a prisoner has satisfied § 3582(c)(1)(A)’s exhaustion requirement, a

court may reduce his term of imprisonment “after considering the factors set

forth in [18 U.S.C. § 3553(a)]” only if the court finds, as relevant here, that (i)

“extraordinary and compelling reasons warrant such a reduction,” and (ii) “such

a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). As the movant, Paz bears the

burden of establishing his eligibility and worthiness for a sentence reduction.

See United States v. Epstein, No. CR 14-287 (FLW), 2020 WL 1808616, at *2


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(D.N.J. Apr. 9, 2020) (“Simply put, under the FSA, a defendant seeking a

reduction in his term of imprisonment bears the burden of establishing both that

he has satisfied 1) the procedural prerequisites for judicial review, and 2) that

compelling and extraordinary reasons exist to justify compassionate release.”);

accord United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States

v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

      The “applicable policy statements” of the Sentencing Commission include

U.S.S.G. § 1B1.13. Under § 1B1.13, a court may grant a § 3582(c)(1)(A)(i)

sentence reduction, after considering the § 3553(a) factors, if the court finds that

(i) “extraordinary and compelling reasons warrant the reduction”; (ii) “the

defendant is not a danger to the safety of any other person or to the community,

as provided in 18 U.S.C. § 3142(g)”; and (iii) “the reduction is consistent with

this policy statement.” U.S.S.G § 1B1.13.3 As one district court recently put it:

      It is important to note that a defendant who meets all the criteria for
      compassionate release consideration listed above is not thereby
      automatically entitled to a sentence modification. He is simply
      eligible for a sentence modification. The court confronted with a
      compassionate release motion is still required to consider all the
      section 3553(a) factors to the extent they are applicable, and may
      deny such a motion if, in its discretion, compassionate release is not
      warranted because Section 3553(A) factors override, in any


3 The policy statement refers only to motions filed by the BOP Director, because
it was last amended on November 1, 2018, before the enactment of the First Step
Act on December 21, 2018. Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239;
cf. 18 U.S.C. § 3582(c) (2012). In light of the statutory command that any
sentence reduction be “consistent with applicable policy statements issued by
the Sentencing Commission,” § 3582(c)(1)(A)(ii), and the lack of any plausible
reason to treat motions filed by defendants differently from motions filed by the
BOP, the policy statement should be read to apply equally to both.

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       particular case, what would otherwise be extraordinary and
       compelling circumstances.

United States v. Gotti, 433 F.3d 613, 615 (S.D.N.Y. 2020) (emphases added). In

sum, the stringent requirements of § 3582(c) make compassionate release a

“rare” and “extraordinary” event. United States v. Willis, 382 F. Supp. 3d 1185,

1188 (D.N.M. 2019) (quotation marks omitted).

III.   ARGUMENT

       A.    The § 3553(a) Factors Strongly Weigh Against Paz’s Release

       Paz bears the burden of demonstrating that he merits release under the

§ 3553(a) factors, which both the compassionate-release statute and the policy

statement oblige this Court to consider “to the extent that they are applicable.”

18 U.S.C. § 3582(c)(1)(A); see also U.S.S.G. § 1B1.13. Paz does not even

acknowledge this requirement, however, much less address any of the § 3553(a)

factors. No wonder: the relevant § 3553(a) factors strongly disfavor a sentence

reduction.

       First, the “nature and circumstances of the offense,” 18 U.S.C.

§ 3553(a)(1), involved Paz’s leadership of a nationwide criminal network that

imported thousands of kilograms of cocaine into the United States, much of it to

or through New Jersey, in partnership with the notoriously vicious Colombian

cartels. The devastating impact of both crack and powder cocaine on the citizens

of the United States, and New Jersey in particular, is undeniable. In the early

1990s, when Paz committed his crimes, the crack epidemic was at or near its

peak in cities throughout New Jersey and across the United States. By 1992,


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the year Paz was arrested, cocaine accounted for nearly 120,000 emergency-

room visits across the United States—more than 27 percent of all emergency-

room visits that year. Nat’l Inst. of Justice, “Cocaine and Federal Sentencing

Policy,” at 41 (July 1995), available at https://www.ncjrs.gov/pdffiles1/

Digitization/155324NCJRS.pdf (accessed June 22, 2020). Between 1990 and

1992, while Paz was committing his crimes, there were 1,382 cocaine-overdose

deaths in the United States. Peter M. Marzuk, MD, et al., “Ambient Temperature

and Mortality from Unintentional Cocaine Overdose,” Journal of the American

Medical Association (June 10, 1998), available at https://jamanetwork.com/

journals/jama/fullarticle/187625 (accessed June 22, 2020).

      Even today, according to the CDC, cocaine accounts for nearly 20% of

drug-overdose deaths in the United States. CDC, “Cocaine,” available at

https://www.cdc.gov/drugoverdose/ data/otherdrugs.html (accessed June 21,

2020). In the 12 months ending November 2019, there were approximately 850

cocaine-overdose deaths in New Jersey alone—more than 5 percent of the

approximately 15,500 such deaths in the United States as a whole during the

same period. CDC National Center for Health Statistics, “Provisional Drug

Overdose Death Counts,” available at https://www.cdc.gov/nchs/nvss/vsrr/

drug-overdose-data.htm (accessed June 21, 2020).

      Thus, in a very real sense, Paz directly profited from a decades-long and

still-ongoing epidemic of suffering and death occurring throughout this District

and beyond—hardly a “nonviolent” crime. To send him home early would convey



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the wrong message to his numerous victims, not to mention those who might

seek to follow in his footsteps. 18 U.S.C. § 3553(a)(2)(B).

      Compassionate release would also be inappropriate given Paz’s “history

and characteristics.” 18 U.S.C. § 3553(a)(1). Paz is currently classified by CI

Rivers at the highest offense-severity level and is considered an escape risk. And

early release would result in the disparate treatment of similar traffickers—those

who, like Paz, have not completed their sentences or been prioritized by BOP for

home confinement. 18 U.S.C. § 3553(a)(6).

      Accordingly, in light of Paz’s record and the totality of the relevant

§ 3553(a) circumstances, this Court should deny his motion for a sentence

reduction.

      B.     BOP’s Pandemic Response Minimizes Paz’s COVID-19 Risk

             1.    BOP’s COVID-19 Protocols

      BOP has had a Pandemic Influenza Plan in place since 2012.4 That

detailed protocol establishes a multi-phase framework that requires BOP

facilities to begin preparations upon learning of a suspected outbreak overseas,

and addresses social distancing, hygienic and cleaning protocols, and the

quarantining and treatment of symptomatic inmates. Consistent with that plan,

BOP began planning for potential coronavirus transmissions in January 2020.

It established a working group to develop policies in consultation with subject


4  BOP Health Services Division, “Pandemic Influenza Plan-Module 1:
Surveillance and Infection Control” (Oct. 2012), available at https://www.bop.
gov/resources/pdfs/pan_flu_module_1.pdf.

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matter experts at the Centers for Disease Control and Prevention, including by

reviewing guidance from the World Health Organization. On March 13, 2020,

BOP began to modify its operations, in accordance with its Coronavirus (COVID-

19) Action Plan (“Action Plan”), to minimize the risk of COVID-19 transmission

into and inside its facilities. Since that time, BOP has repeatedly revised the

Action Plan to address the crisis.

       On May 18, 2020, BOP began implementing Phase Seven of the Action

Plan, which currently governs operations. BOP, “COVID-19 Action Plan: Phase

Seven,” available at https://www.bop.gov/resources/news/20200520_covid-19

_phase_seven.jsp#:~:text=(BOP)%20%2D%20On%20Monday%2C,the%20sprea

d%20of%20the%20virus (accessed June 17, 2020). Only limited group gathering

is permitted, to facilitate commissary, laundry, showers, telephone, and

computer access, with attention to social distancing to the extent possible. See

BOP,     “BOP      Implementing       Modified     Operations,”      available    at

https://www.bop.gov/coronavirus/covid19_status.jsp (accessed June 17, 2020)

(“Modified Operations”). Further, BOP has severely limited the movement of

inmates and detainees among its facilities, with exceptions for medical treatment

and similar exigencies. Id. All official staff travel has been cancelled, as has most

staff training. Id. All staff and inmates have been issued face masks and are

strongly encouraged to wear appropriate face coverings when social distancing

cannot be achieved. Id.




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      Every newly admitted BOP inmate is screened for COVID-19 exposure risk

factors and symptoms. Id. Asymptomatic inmates with risk of exposure are

placed in quarantine for a minimum of 14 days or until cleared by medical staff.

Id. Symptomatic inmates are placed in isolation until they test negative for

COVID-19 or are cleared by medical staff as meeting CDC criteria for release

from isolation. Id. In addition, enhanced staff screening is in place at all BOP

facilities, id., and staff registering a temperature of 100.4 degrees Fahrenheit or

higher are barred from any BOP facility on that basis alone. BOP, “Coronavirus

Disease    2019     (COVID-19)      Staff    Screening     Tool,”    available   at

https://www.bop.gov/coronavirus/docs/covid19_staff_screening_tool_v2.8_20

200327.pdf (accessed June 17, 2020). A staff member with a stuffy or runny

nose can be placed on leave by a medical officer. Id.

      Contractor access to BOP facilities is restricted to only those performing

essential services (e.g., medical or mental health care, religious, etc.) or those

who perform necessary maintenance on essential systems. See Modified

Operations, supra. All volunteer visits are suspended absent authorization by

the Deputy Director of BOP. Id. Any contractor or volunteer who requires access

will be screened for symptoms and risk factors. Id.; see also BOP,

“Visitor/Volunteer/Contractor     COVID-19     Screening    Tool,”   available   at

https://www.bop.gov/coronavirus/docs/Visitor_Volunteer_Contractor_COVID-

19%20Screening_v1_March_2020.pdf (accessed June 17, 2020).




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      Social and legal visits were stopped as of March 13 to limit the number of

people entering each facility and interacting with inmates. See Modified

Operations, supra. To ensure that familial relationships are maintained

throughout this disruption, BOP has increased detainees’ telephone allowance

to 500 minutes per month. Id. Tours of facilities are also suspended. Id. Legal

visits are permitted on a case-by-case basis after the attorney has been screened

for infection in accordance with the screening protocols for prison staff. Id.

            2.     BOP’s Home Confinement Initiatives

      In an effort to relieve the strain on BOP facilities and assist inmates who

are most vulnerable to the disease and pose the least threat to the community,

BOP is exercising greater authority to designate inmates for home confinement.

On March 26, 2020, the Attorney General directed the BOP Director, upon

considering the totality of the circumstances concerning each inmate, to

prioritize the use of statutory authority to place prisoners in home confinement.

That authority includes the ability to place an inmate in home confinement

during the last six months or 10 percent of a sentence, whichever is shorter, see

18 U.S.C. § 3624(c)(2), and to move to home confinement those elderly and

terminally ill inmates specified in 34 U.S.C. § 60541(g).

      Congress has also acted to enhance BOP’s flexibility to respond to the

pandemic. Under the Coronavirus Aid, Relief, and Economic Security Act,

enacted on March 27, 2020, BOP may “lengthen the maximum amount of time

for which the Director is authorized to place a prisoner in home confinement” if



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the Attorney General finds that emergency conditions will materially affect the

functioning of BOP. Pub. L. No. 116-136, § 12003(b)(2), 134 Stat. 281, 516 (to

be codified at 18 U.S.C. § 3621 note). On April 3, 2020, the Attorney General

gave the Director of BOP the authority to exercise this discretion. As of June 21,

2020, BOP has transferred 4,413 inmates to home confinement. See BOP,

“COVID-19 Home Confinement Information,” available at https://www.bop.gov/

coronavirus/ (accessed June 22, 2020).

             3.    COVID-19’s Impacts on BOP Facilities

      Taken together, all of these measures are designed to sharply mitigate the

risks of COVID-19 transmission in each BOP institution. BOP has pledged to

continue monitoring the pandemic and to adjust its practices as necessary to

maintain the safety of prison staff and inmates, while also fulfilling its mandate

of incarcerating all persons sentenced or detained based on judicial orders.

      Unfortunately and inevitably, some inmates have become ill, and more

likely will in the weeks ahead. As of June 21, 2020, however, CI Rivers has no

inmates currently diagnosed with COVID-19, no COVID-related deaths, and 20

inmates who have fully recovered from the virus. See BOP, “Private Facilities,”

available at https://www.bop.gov/coronavirus/ (accessed June 22, 2020).

      Further, in managing the ongoing risk of additional cases, BOP must

consider its concern for the health of its inmates and staff alongside other critical

considerations. For example, notwithstanding the current pandemic crisis, BOP

must carry out its charge to incarcerate sentenced criminals to protect the



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public, provide effective deterrence, and effectuate the other penological

considerations set forth in 18 U.S.C. § 3553(a). It must consider the effect of a

mass release of inmates on the safety and health of both the inmate population

and the citizenry. It must marshal its resources to care for inmates in the most

efficient and beneficial manner possible. It must assess individual release plans,

which are essential to ensure that each defendant has a safe place to live and

access to health care in these difficult times. And it must consider myriad other

factors, including the availability of both transportation for inmates (at a time

when interstate transportation services often used by released inmates are

providing reduced service) and the supervision of inmates once released (at a

time when the Probation Office has necessarily cut back on home visits and

supervision).

            4.    Relative Risks Inside and Outside CI Rivers

      Although the Government is sympathetic to Paz’s concerns about his

confinement during a pandemic, it is far from clear that his proposal for release

to home confinement is even advisable as a matter of COVID-19 safety. As of

June 17, 2020, Hertford County, North Carolina—where CI Rivers is located—

had 46,855 laboratory-confirmed cases of the virus and 1,168 COVID-19 deaths.

North Carolina Dep’t of Health & Human Servs., “NCDHHS’ COVID-19

Response,” available at https://covid19.ncdhhs.gov/ (accessed June 17, 2020).

And Paz’s pre-incarceration state of residence, New Jersey, has been at the

epicenter of the pandemic in the United States, with 167,703 confirmed cases



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and at least 12,769 deaths from COVID-19 as of June 17, 2020. New Jersey

Dep’t    of   Health,   “New   Jersey   COVID-19      Dashboard,”    available   at

https://www.nj.gov/health/cd/topics/covid2019_dashboard.shtml             (accessed

June 17, 2020). In comparison, CI Rivers—with 20 recovered cases, zero current

cases, and zero deaths—may in fact be the safest place for Paz.

        In addition, though the Government concedes that Paz’s diabetes satisfies

the “extraordinary and compelling” statutory prong given the ongoing pandemic,

the Court should also consider Paz’s current health status in determining

whether compassionate release would in fact reduce his risk of serious illness or

death.

        The Government has obtained Paz’s medical records from BOP, which

indicate that BOP is effectively managing Paz’s care and that he is not suffering

acute or debilitating effects from his diabetes or any of his other conditions.5 See

generally Exs. A-B. To the contrary, the records show that Paz has been under

consistent treatment for his diabetes mellitus since in or about 2011, with no

apparent complications. Ex. A at 3-4. In fact, as of May 22, 2020, Paz’s

examining physician at CI Rivers recorded his A1C level as 6.7%, with the

notation “controlled.” Ex. B at 7; see also American Diabetes Association,

“Understanding A1C,” available at https://www.diabetes. org/a1c (accessed

June 17, 2020) (“The goal for most adults with diabetes is an A1C that is less


   5Based on privacy concerns, the Government will not file Defendant’s medical
records on the public docket but will provide them to the Court under separate
cover.

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than 7%.”). Similarly, Paz’s medical records indicate that BOP has been

monitoring his “benign essential hypertension” at least quarterly since 2012,

with no acute incidents or hospitalizations. Ex. B at 6-7. Indeed, as of May 22,

2020, his examining physician at CI Rivers made the notation “RRR” with regard

to Paz’s heart, which is medical shorthand for “regular rate and rhythm.” Id. at

7; see also Cisneros v. Collier, No. 6:19cv112, 2020 WL 1861673, at *4 (E.D. Tex.

Mar. 2, 2020) (“RRR” stands for “regular rate and rhythm”); Pacifico v. Colvin, No.

1:14-CV-1280, 2015 WL 5695271, at *5 (M.D. Pa. Sept. 28, 2015) (same).

        Given the currently nonexistent COVID-19 incidence rate at CI Rivers, the

high incidence rate outside the facility, and the success of the institution’s

medical staff in managing Paz’s medical conditions and preventing acute or

debilitating consequences of those illnesses, the relative risks weigh against Paz’s

request for early release.

        C.    This Court Lacks Authority to Direct the BOP to Place the
              Defendant in Home Confinement.

        Finally, were the Court to read Paz’s motion as a request to order BOP to

place him on home confinement under the guidelines set forth in the Attorney

General’s March 26 and April 3, 2020 memoranda,6 the Court should deny the

request because this Court has no authority to direct BOP to place a defendant

in home confinement. Rather, such designation decisions are committed solely

to BOP’s discretion.




   6   Memoranda available at: https://www.bop.gov/coronavirus/faq.jsp.

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      Once a sentence is imposed, BOP is solely responsible for determining an

inmate’s place of incarceration. See 18 U.S.C. § 3621(b); Moore v. United States

Att’y Gen., 473 F.2d 1375, 1376 (5th Cir. 1973) (per curiam); McKune v. Lile, 536

U.S. 24, 39 (2002) (plurality opinion) (“It is well settled that the decision where

to house inmates is at the core of prison administrators’ expertise.”). A court has

no authority to designate a prisoner’s place of incarceration. See United States v.

Voda, 994 F.2d 149, 151-52 (5th Cir. 1993). Thus, as any request by Paz for

home confinement would alter only the place and not the term of incarceration,

only BOP may grant or deny such a request.

      Moreover, there is no constitutional or statutory authority that allows the

Court to order home confinement. A prisoner has no constitutional right to

confinement in any particular place, including in home confinement. See Sandin

v. Conner, 515 U.S. 472, 478 (1995) (“[T]he Due Process Clause did not itself

create a liberty interest in prisoners to be free from intrastate prison transfers.”);

Meachum v. Fano, 427 U.S. 215, 224 (1976) (“The conviction has sufficiently

extinguished the defendant’s liberty interest to empower the State to confine him

in any of its prisons.”). And, after it imposes a sentence, the Court has limited

jurisdiction to correct or modify that sentence absent specific circumstances

enumerated by Congress in 18 U.S.C. § 3582. See United States v. Garcia, 606

F.3d 209, 212 n.5 (5th Cir. 2010) (per curiam). Section 3582(c) contemplates

only a reduction in sentence, which would not result from Paz’s mere transfer

from one location of incarceration (CI Rivers) to another (his residence). An order



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directing the BOP to transfer Paz to home confinement therefore would fall

outside § 3582(c)’s limited grant of authority. Absent any other statutory

authority—and Paz cites none—this Court has cannot grant such relief in this

forum.

IV.   CONCLUSION

      For the reasons set forth above, this Court should deny Paz’s motion for a

sentence reduction, with prejudice.

                                           Respectfully submitted,

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Dated:      May 22, 2020




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